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                         Case 4:13-cr-00147-SMR-CFB Document 691 Filed 06/12/17 Page 1 of 1
                                                                                                            PROCESS RECEIPT AND RETURN
    U.S. Department of Justice                                                                              See Instructions for "'Service of Process by the U:S. Marshal"'
    United States Marshals Service                                                                          on the reverse of this ·/form.

    PLAINTIFF                                                                                                                                 COURT CASE NUMBER
     United States of America                                                                                                                  4: 13-cr-OO 147
    DEFENDANT                                                                                                                                 TYPE OF PROCESS
     Mo Hailong, a/k/a Robert Mo                                                                                                               Sell Property
                               NAME OF INDIVIDUAL, COMPANY, CORPO~ATION, ~TC., TO SERV.E OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
    SERVE


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                               ADDRESS (Street or RFD, Apa11ment No., City. Siate and ZIP Code)
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                                                                                                                                      Number of process to be
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                   IMaureen McGuire           ·                    "                                                                I served with· this Form - 285         I
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                    United States Attorney's Office
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                                                                                                                                    : Number of parties to be
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                    2nd Floor, Suite 286                                                                                            I served in this case.
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                    110 East Court Avenue
                   1 Mo!nt?s, IA. 50309 ·
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    SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Al emate Addresses, All
    Telephone Numbers, and Estimated Times Available For Service):
    fold             .                                                                                                                                                                                        . fold




             Sell the real prope1ty
                               .
                                    located at the Northwest
                                                       I
                                                              corner of 298th Place and Amarillo Avenue near Redfield '
             IA pursuant to the final order of forfeiture (14-FBI-005378).


    Signature of Attorney or other Originator reques.ting service on behalf of:                                                          TELEPHONE NUMBER                            DATE
                                                                                                                I   PLAINTIFF
                                                                                                                0 DEFENDANT               (515) 473-9354·                            -~.-      2.'""1-1\o


    I acknowledge receipt· for the total Total Process                                                          ign ture of Authorized USMS Deputy or Clerk                                         Date

                                                                                                                     Ylv~·
    number of process indicated.
    (Sign only first USM 285 if more
    than one USM 285 is submitted)

    I hereby certify and return th.at I 0 have personally served,   have legal evidence of service, D have executed as.shown in "Remarks": the process described·
    on the individ~al, company, corporation. etc., at the address shown above or on the individual. company. corporation, ·etc ... shown 'at the address inserted below.

    D       I hereby certify and return that I am unable to locate the individual, company, corporation, etc .. named above (Sec remarks below)

    Name and title of individual served (if not shown above)                                                                                              A person of suitable age and dis-
                                                                                                                                                    D     cretion .then residing in the defendant's
                                                                                                                                                          11sual place of abode.
    Address (complete only if different than shown above)                                                                                           Date of S rvice                                             am

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           Service Fee       Total Mileage Charges   Forwarding Fee       Total Charges                Advance Deposits


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    REMARKS:
                             (including endeavors)


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    PRIOR EDmoNS
    MAY BE USED
                                                          1. CLERK OF THE COURT . i                                                                           FORM USM·285 (Rft. ll/IS/80)


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